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. DIRECT FILING'SHORT FORM'

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ng this document, am n aenerting a lait
al., No. 10-2771; adept and Incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Patition of Triton
Asset Leasing Gmbh, et al, in No. 10-2771; and/or intervene Into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“83 Bundle”)
filed in MD. No, 2179 (10 md 2479}.

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Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

SECTION: a

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Claim filed with BP?

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' ff yes. BP Claim No.:

' Claim Type (Please check all that appty):

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Claim Filed with GCCF?; YES CJ NO [J

H yes, Claimant Idantification No.:

Fw Damage or destruction to reat or personal property A Fear of Fulure injury and/or Medical Monitoring

. Bd Earnings/Profit Loss = Loss of Subsistence use of Natural Resources

i Bo Personal Injury/Death Removal and/or clean-up costs

{ — ey Other:

This for uid be fied with the U.S. District Court for the Eastern District of Loulstana In New Orleans, Louisiana in Civil Action No. 10-8888. While thi 2 Bake

Filing Short Form is to be filed In CA Wo. 10-8888, by prior order of the Court, [Rec. Doc. 246, C.A, No. 10-2771 and Alec, Doc. 982 in MD4 2179), the filing of this form
4 CA, No. 10-R888 shall be deemed to be simultaneously filed In C.A. 10-2771 and MDL 2179. Plaintiff Uaison Counsel, after being notified electronically by the Clerk
of Court ot the filing of this Short Form, shalt promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form,

Case 2:10-cv-08888-CJB-JCW Document 85364 Filed 04/20/11 Page 2 of 3
Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

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: Brief Description:

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1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims

: invalving real estate/property, include the property location, type of property (residentlal/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and tocation of fishing grounds at issue.

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| 2. For personat injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
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employers 2008 to present and complete authorization forms for each. Ry ;
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3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, thea name of your

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| employer, and where you were working. Le Tr ‘3, L4& . “Pre teiney or
| Dente with Astin, Marine” Covtreton Ditay
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Econom ad PF a le B1

bel 1. Commercial fisherman, shtimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering. ‘

WH 2. Seufood processor, distributor, retail and seafood market, or restaurant owner ard operator, or an employee thereof.

i 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, of charter
fishing business who eam their living through the use of the Gulf of Mexico.

bel 4. Commerciat business, business owner, operator or worker, including commercial divers, offshore oilfield servica, repair and
supply, real estate agents, and supply Companies, or an employee thereol.

Bd 5 Racrcational sport fishermen, recreational diver, beachgeer, or recreational beater.
fd 6. Plant and dock worker, including commerciat seafood plant worker, tongshoreman, or ferry operator.

pl 7? Owner. lessor, or lessee of real property alleged to be damaged, harmed of impacted, physically or economically, including
lassees of oyster beds.

bt 6 Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
tel 9. Bank, financial Institution, of retail business that suffered josses as a result of the spilt,
be 10. Person who utilizes natural resources for subsistence.

Bod. Other:

| Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3}

fd +. Boat captain or crew involved in the Vessels of Opportunity program.

fd 2. 9 Worker involved in decontaminating vessels that cama into contact with oil and/or chemical dispersants.

Kl 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion claan-up activities.

We a. Ciaan-up worker or beach personnel involved in clean-up activities along shoretines and intercoastal and intertidal zanas.
fad 5. Resident who lives or works in close proximity to coastal waters.

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Soth BP and the Gulf Coast Claims Facility (GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restncted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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\Gaimant ut Attorn@y Signature

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